 

___-c e 8:15-cr-00063-.JLS Document 2 Filed 06/17/15 Page 1 of 2 Page |D #:6
UN|TED STATES DlSTRlCT COURT

CENTRAL DlSTR|CT OF CAL|FORNIA

CASE SUMMARY

%

Case Numbe

 

U.S.A. v. TODD CHR|ST|AN HARTMAN
indictment {:| information

Defendant Number 1

Year of Birth fcic-5 5

investigative agency (FB|, DEA. etc.) &S )

NOTE: Al| items are to be completed. information not applicable or unknown shall be indicated as "NIA."

OFFENSE[!ENUE

a. Offense charged as a :
[:| Class A Misdemeanor m Minor Offense |:| Petty Offense
\:l C|ass B Misdemeanor |:| C|ass C Misdemeanor Felony

b. Date of Offense 10/16/2014
c. County in which first offense occurred

Orange County
d. The crimes charged are alleged to have been committed in:

CHECK ALL THAT APPLY
[:] Los Angeles
Orange

|:| Ventura

|:] Santa Barbara
m Rivers|de |:] San Luis Obispo
|:\ San Bernardino m Other

Citation of Offense 18 U.S.C. §§ 2252A(a)l2), (b)(1). and

2252A(a)(5](B). {b)(Z)

 

RELATED CASE
Has an indictment or information lnvo|ving this defendant and

the same transaction or series of transactions been previously
|:| Yes

filed and dismissed before trial? NO
|F ¥ES Case Number

 

Pursuant to General Order 14-03, criminal cases may be related

if a previously filed indictment or information and the present

case:

a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretriai, trial or
sentencing proceedings if heard by different judges.

Related case(s}, if any: MUST MATCH NOT|CE OF RELATED

CASE

 

 

 

 

 

 

 

 

 

 

 

Pnsvlousl.v FlLEo coMPLAlN'i‘F mfg ,__,
mg __=_
A complaint was previously file on: -‘.-"¢:»< '=-"'
'3__%_-'__
Case Number ;`,:._’§ § _H
` 100 -
Charging 1 1‘;.: -1 r'=
' . .-'-+ `
- § O_ 2 m
\ -s E__
The complaint: |:] is stin;gld|nL
h ..
. . _ § ': C> L_,
I:l was dismissed on. f _____¢:J: _
¢_‘
PREV|OUS COUNSEL
Was defendant previously represented? I:| No |:] Yes
lF YES, provide. Name:
Phone Number:
COMPLEX CASE
Are there 8 or more defendants in the indictment/lnformation?
|j Yes* No

Wii| more than 12 days be required to present government's
evidence in the case-|n-ch|ef?

|:| Yes“ No

*AN OR|G|NAL AND 1 COPY (UNLESS ELECI`RON|CALLY |:|LED]l
OF THE NOT|CE OF COMPLEX CASE MUST BE F|LED AT THE
lc'||li|/l|EIELlé|B|NDICTMENT |S F|LED |F E|THER "YES" BOX |S

Sugerseding lndictment[lnformation
15 TH|S A NEW DEFENDANT? E| Yes |:] No

Th|s |5 the superseding charge, i.e. ist, 2nd.
The superseding case was previously filed on:

 

Case Number
The superseded case:

 

[:| is still pending before Judge/Magistrate .ludge

 

I:I was previously dismissed on
Are there 8 or more defendants in the superseding case?

|:| ¥es* No

W||l more_than 12 days be required to present government's
evidence rn the case-in-chief?

|:| Yes* NO

 

 

CR-?Z (06/14)

CASE SUMMARY

Page 1 of 2

Case 8:15-cr-00063-.]LS Document 2 Filed 06/17/15 Page 2 of 2 Page |D #:7
UN|TED STATES DlSTRlCT COURT

CENTRAL DlSTRICT OF CAL|FORN|A
CASE SUMMARY

_____________-h--__.____

Was a Notice of Complex Case filed on the indictment or
|nformatlon?

\___\ Yes No

*AN OR|GINAL AND ‘l COPY OF THE NOT|CE OF COMPLEX CASE
MUST BE F|LED AT THE TlME THE SUPERSED|NG IND|CTMENT |S
F|LED |F E|THER "YES" BOX iS CHECKED.

is an interpreter required? E\ YES NO
iF YES, list language and/or dia|ect:

 

OTHER
Maie |:i Fema|e
U.S. Citizen |:| Aiien

Alias Name(s)

 

 

A|l counts

This defendant is charged in:
E] Only counts:

 

i:\ This defendant is designated as "High Rlsk" per
18 USC § 3146 (a){2) by the U.S. Attorney.

|___| This defendant is designated as "Speciai Case" per

18 USC § 3166 (b)(7i.
is defendant a juveni|e? [:\ Yes |:| No
|F YES, should matter be sealed? \:] Yes |j No

The area of substantive law that will be involved in this case

includes:

[:| financial institution fraud \:] public corruption
|] tax offenses
[:l mail/wire fraud

|:| immigration offenses

E\ government fraud

|:| environmental issues
\:] narcotics offenses

m violent crimes/firearms \:i corporate fraud
Other Distribution of Chi|d Pornography, and

Possess|on of Chi|d Pornography

CUSTODV STATUS

 

D§fendant is not in custggy:

a. Date and time of arrest on compiaint:

b. Posted bond at complaint level on:

in the amount of 5

 

c. PSA supervision? |:i Yes m No

d. ls on bail or release from another districts

 

D end iin sod:

a. P|ace ofincarcerat|on: l:[ State Federa|

b. Name of |nstitution:

 

c. |f Federai: U.S. Marshal's Registration Number:

 

d_ \:| Soieiy on this charge. Date and time of arrest:

 

e. On another conviction: i:\ Yes No
|F YES; |:| State |:\ Federa| m Writ of lssu`e
f. Awalting trial on other charges:: |:} Yes \:] Ng
|F YES: |:i State |] Federai AND

Name of Court:

 

Date transferred to federal custody:

 

This person/proceeding ls transferred from another district

pursuant to F.R.Cr.P. 20 21 40

___-__

 

 

EXCLUDABLE TlME

Dererminations as to excludable time prior to filing indictment/information EXPLA|N:

 

 

Date 06/1 5/20`| 5

Signature o Assis i'\LLLS!Attorney
lVY A. WAN

Print Name

 

CR-72 (06/14)

CASE SUMMARY Page 2 of 2

